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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                                 UNITED STATES DISTRICT COURT
                                                         for the

                                            Central District of California
                                                                                               11/20/21
 United States of America
                                                                                                         ro


                 v.
                                                                   Case No. 2:21-mj-05349-DUTY
 Christopher Joseph Antoun,

                 Defendant(s)


                              CRIMINAL COMPLAINT BY TELEPHONE
                             OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of May 3, 2020 in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 875(c)                                      Threats by Interstate Communication

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                    V
                                                                                 Complainant’s signature

                                                                            Thomas Smith, Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                
                                                                                     Judge’s signature

 City and state: Los Angeles, California                           Hon. John E. McDermott, U.S. Magistrate Judge
                                                                                  Printed name and title



AUSA: Jason C. Pang
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                                AFFIDAVIT

I, Thomas Smith, being duly sworn, declare and state as follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Christopher Joseph ANTOUN

(“ANTOUN”) for a violation of 18 U.S.C. § 875(c) (Threats by

Interstate Communication).

     2.      This affidavit is also made in support of warrants to

search the person of ANTOUN and 20722 Ibex Avenue, Lakewood, CA

(the “SUBJECT PREMISES”), as fully described in Attachments A-1

and A-2.

     3.      The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 875(c), as described more fully in Attachment B.

Attachments A-1, A-2, and B are incorporated herein by

reference.

                              INTRODUCTION

     4.      I am a Special Agent with the Department of Homeland
Security (“DHS”), Federal Protective Service (“FPS”).           I have

been an FPS Special Agent for the past three years and am

currently assigned as a member of the Joint-Terrorism Task Force

with the Federal Bureau of Investigation (“FBI”).          In addition

to participating in FBI counter-terrorism investigations, I am

the case agent and co-case agent to numerous FPS investigations.

Prior to becoming a Special Agent, I was assigned as a Uniformed

Inspector for the FPS for four years.        As a Uniformed Inspector,

I performed security duties for federal facilities in
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Washington, D.C., and Albuquerque, New Mexico.         In 2008, I

received over 440 hours of training in investigations at the

Federal Law Enforcement Training Center in Glynco, Georgia.            I

have also received over 168 hours of Threat Assessment and

Management and Physical Security Training.         As a federal law

enforcement officer, I have investigated over 100 cases

involving criminal threats.

     5.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.        Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                     II. SUMMARY OF PROBABLE CAUSE

     6.      On or about May 3, 2020, in response to his inability
to obtain a United States Small Business Administration (“SBA”)

COVID-19 Economic Injury Disaster Loan (“EIDL”) loan and

advance, ANTOUN emailed an SBA email account, “IT GOES INTO MY

BANK ACCOUNT TONIGHT OR I START BOMBING EVERY LOCATION OWNED BY

THE SBA.”

     7.      A year later, on November 17, 2021, ANTOUN emailed a

group of SBA employees, “Within the next hour I'm getting picked

up and dropped off at the LA district office. Im gonna walk in

with my nice shiny bat. Im gonna start beating the skulls of SBA


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staff in. Once the police or whoever it is eventually stops me

im going to go to jail.”

                  III. STATEMENT OF PROBABLE CAUSE

     8.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, my interviews

with victims and witnesses, and my own knowledge of the

investigation, I am aware of the following:

     A.    On May 3, 2020, ANTOUN Threatens to Bomb Every
           Location Owned by the SBA

     9.    ANTOUN owns Federal Student Loan Consulting LLC, a

business that ANTOUN runs out of the SUBJECT PREMISES.           In early

2020, ANTOUN attempted to obtain a COVID-19 EIDL loan and

advance from the SBA.

     10.   After failing to receive approval for a EIDL loan or

advance from the SBA, on May 3, 2020, ANTOUN sent an email from

his email address, antounchris432@gmail.com, to an SBA-monitored

email account, PDC.Reconsideration@sba.gov, and wrote:

     IM NOT FUKING PLAYING WITH YOU COCK SUCKERS ANYMORE. IT'S
     NOT UP TO YOUR LOAN OFFICER AS TO WETHER OR NOT I GET THE
     EIDL LOAN ADVANCE. IM AN ELIGIBLE ENTITY. THEY HAVE 0 SAY
     SO IN THE MATTER. YOU MOTHER FUCKERS OWE ME $1000 AND I
     WANT IT RIGHT FUKING NOW. IT GOES INTO MY BANK ACCOUNT
     TONIGHT OR I START BOMBING EVERY LOCATION OWNED BY THE SBA.

     11.   C.P., an SBA loan officer based in Fort Worth, Texas,

received ANTOUN’s May 3, 2020 email while monitoring the

PDC.Reconsideration@sba.gov email account and contacted law

enforcement.

     12.   On May 11, 2020, law enforcement went to the SUBJECT

PREMISES and conducted a voluntary interview of ANTOUN.           ANTOUN

stated, in part and in substance:


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             a.   ANTOUN stated he lives at the SUBJECT PREMISES.

             b.   ANTOUN admitted that he sent the May 3, 2020

email from his email address, antounchris432@gmail.com, to the

SBA because he was angry that his application to obtain an EIDL

loan and loan advance had been denied by the SBA.

             c.   ANTOUN claimed that he was high on marijuana and

drunk on alcohol when he sent the threatening email, and that

the had no intent to actually carry out the threat.          ANTOUN also

claimed that he had no training or experience with explosives or

firearms.

     13.     Law enforcement informed ANTOUN that law enforcement

considered ANTOUN’s May 3, 2020 threat to be a true and serious

threat.    In response, ANTOUN acknowledged and stated that he

would not make additional threats to any government agencies.

     14.     ANTOUN gave consent to search the SUBJECT PREMISES,

and law enforcement did not find any firearms or explosives in

the house.

     15.     On or about May 19, 2020, I served a letter to ANTOUN.

In that letter, I summarized the May 3, 2020 threat and warned

ANOTUN that law enforcement is taking his threat “very seriously

and aggressively investigating” them.        ANTOUN signed the letter

following receipt.

     B.      On November 19, 2021, ANTOUN Threatens to Walk Into
             the SBA Los Angeles District Office and “Start Beating
             the Skulls of SBA Staff.”

     16.     In the summer and fall of 2021, ANTOUN again attempted

to obtain SBA-backed loans and loan advances.         Following

difficulty in obtaining those loan and loan advances, on



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November 17, 2021, ANTOUN sent the following email from

fslcadm@gmail.com to several, specific SBA employees and other

SBA email addresses:

     i dont care about the money anymore. You clearly arent
     going to give it to me even tho YOURE SUPPOSED TO SINCE I
     LEGALLY QUALIFY! But fuck it.

     All i care about now is making sure you fucks start
     suffering some consequences. So check this out im sending
     this email to 15 different inboxs because I want to make
     sure its seen.

     Within the next hour I'm getting picked up and dropped off
     at the LA district office. Im gonna walk in with my nice
     shiny bat. Im gonna start beating the skulls of SBA staff
     in. Once the police or whoever it is eventually stops me im
     going to go to jail. But im almost positive the story will
     make the news.

     During the news coverage im sure someone will ask... Gee i
     wonder what caused this man to do this??? AND THEN IM GONNA
     HAVE MY FATHER GIVE HIM EVERY PIECE OF CORRESPONDENCE IVE
     HAD WITH YOUR ORGANIZATION INCLUDING THIS EMAIL. THAT WAY
     THE NEWS STATION AND PEOPLE SEE THE FRAUDULENT SHIT BEING
     PULLED BY THE SBA.

     even if i never get the money and i end up going to jail
     for the next few years ill be happy. Happy knowing that you
     mother fuckers are finally about to start suffering some
     consequences.

     THINK IM BULLSHITTING YOU?

     guess youre gonna find out.


     17.   The header of the email came from “Christopher

Antoun,” and the email also contained the following signature

block showing that the email was signed by ANTOUN:

     Christopher J. Antoun
     Student Loan Adviser # 0119
     Main: (800) -791-2931
     support@federalstudentloanconsulting.com

     18.   Following receipt of the email, SBA supervisors

checked and confirmed that no SBA employees were physically



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located at the SBA Los Angeles District Office, located at 312

N. Spring Street in Los Angeles, California.         SBA supervisors

also notified building security guards of ANTOUN’s threat.

        C.    Follow-up Investigation

        19.   Based on my review of law enforcement and public

databases on November 20, 2021, ANTOUN’s present, registered

residential address is the SUBJECT PREMISES.         Likewise, on

November 20, 2021, I reviewed ANTOUN’s public LinkedIn page, and

ANTOUN lists the current address of his business, Federal

Student Loan Consulting LLC, as the SUBJECT PREMISES.

              IV. TRAINING AND EXPERIENCE ON CRIMINAL THREATS

        20.   From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct investigations into criminal

threats, I am aware that persons who send electronic

communications, such as emails, text messages, and social media

messaging applications, containing threats to kill or injure

others will send those communications from digital devices under

their physical control, such as on their person or in their

residence.      These digital devices include, but are not limited

to, cell phones and laptops.

        21.   Additionally, I know from my training and experience

that individuals who make violent threats may keep dangerous

weapons in their possession or residence, including firearms,

explosive devices, and blunt-force objects, such as baseball

bats.




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           V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 1

     22.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.      Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,


     1 As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.

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programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.     Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.      Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     23.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:




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          a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

          b.    Digital devices capable of storing multiple

gigabytes are now commonplace.      As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

          c.    The search warrant requests authorization to use

the biometric unlock features of a device, based on the

following, which I know from my training, experience, and review

of publicly available materials:

                i.    Users may enable a biometric unlock function

on some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a



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device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

                ii.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.         I do not know

the passcodes of the devices likely to be found in the search.

                iii. Thus, the warrant I am applying for would

permit law enforcement personnel to, with respect to any device

that appears to have a biometric sensor and falls within the

scope of the warrant: (1) depress ANTOUN’s thumb and/or fingers

on the device(s); and (2) hold the device(s) in front of

ANTOUN’s face with his eyes open to activate the facial-, iris-,

and/or retina-recognition feature.

     24.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VI. CONCLUSION

     25.   For all the reasons described above, there is probable

cause to believe that ANTOUN violated 18 U.S.C. § 875(c)

(Threats by Interstate Communication).        Further, there is

probable cause to believe that the items listed in Attachment B,

which constitute evidence, fruits, and instrumentalities of


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violations of the Subject Offense will be found on the person of

ANTOUN and in the SUBJECT PREMISES, as described in Attachments

A-1 and A-2.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this WK
                  ____ day of
_________,
1RYHPEHU   2021.



HONORABLE JOHN E. MCDERMOTT
UNITED STATES MAGISTRATE JUDGE




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